UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT CHATTANOOGA
UNITED STATES OF AMERICA )
)
Vv. ) Case No. 4:19-cr-17
) Judges Collier/Lee
GREGORY HIGGINS )
PLEA AGREEMENT

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, Gregory Higgins, and the defendant’s attorney, Janie Parks Varnell,
have agreed upon the following:

1. The defendant will plead guilty to a violation of 18 U.S.C. §242 charged in a count in
the indictment:

a) Count One. Deprivation of Rights, where the defendant, while acting under
color law, willfully deprived the victim of his right to be free from the use of unreasonable force by
a law enforcement officer in violation of 18 U.S.C. § 242.

The punishment for this violation of 18 U.S.C § 242 is a maximum term of imprisonment of
1 year, a maximum fine of $100,000.00, a maximum term of supervised release of up to one year,
and a special assessment fee of $100.00.

2. In consideration of the defendant’s guilty plea, the United States agrees to move the
Court at the time of sentencing to dismiss the remaining count against the defendant in this
indictment. The United States also agrees not to further prosecute the defendant in the Eastern
District of Tennessee for any other non-tax criminal offenses committed by the defendant that are

related to the charges contained in the indictment in this case and that are known to the United
States Attorney's Office for the Eastern District of Tennessee at the time this plea agreement is
signed by both parties.

3. The defendant has read the indictment, discussed the charges and possible defenses
with defense counsel, and understands the crime charged. Specifically, the elements of the violation
charged in Count One that the defendant pleads guilty to are as follows:

First: The defendant acted under color of law;

Second: The defendant deprived a person in the United States, A.L., of a right secured
or protected by the Constitution or laws of the United States, in this case, the
right of an arrestee to be free from the use of unreasonable force by one acting
under color of law; and

Third: That the defendant acted willfully.

4, In support of the defendant’s guilty plea, the defendant agrees and stipulates to the
following facts, which satisfy the offense elements. These are the facts submitted for purposes of
the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing. Both the defendant and the United States retain the right to
present additional facts to the Court to ensure a fair and appropriate sentence in this case.

On or about July 25, 2017, in the Eastern District of Tennessee, the defendant, Gregory
Higgins, while on-duty as a Captain with the Grundy County Sheriffs Office and acting under color
of law, physically assaulted handcuffed arrestee A.L., thereby willfully depriving A.L. of the right,
secured and protected by the Constitution and laws of the United States, to be free from the use of
unreasonable force by a law enforcement officer. Specifically, without any legitimate law

enforcement purpose for the use of force, the defendant intentionally pushed A.L.’s head into a

doorframe multiple times. The defendant used force on A.L. despite the fact that A.L. was
handcuffed, compliant, and surrounded by other law enforcement officers; all in violation of Title
18, United States Code, Section 242.
5. The defendant is pleading guilty because the defendant is in fact guilty.

The defendant understands that, by pleading guilty, the defendant is giving up several rights,
including:

a) the right to plead not guilty; ‘

b) the right to a speedy and public trial by jury;

c) the right to assistance of counsel at trial;

d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt;

e) the right to confront and cross-examine witnesses against the defendant;

f) the right to testify on one’s own behalf, to present evidence in opposition to
the charges, and to compel the attendance of witnesses; and

g) the right not to testify and to have that choice not used against the defendant.

6. The parties agree that the appropriate disposition of this case would be the following

as to the violation of 18 U.S.C. § 242 charged in Count One and to which the defendant now pleads
guilty:

a) The Court may impose any lawful term(s) of imprisonment, any lawful
fine(s), and any lawful term(s) of supervised release up to the statutory maximum(s);

b) The Court will impose special assessment fees as required by law; and

c) The Court may order forfeiture as applicable and restitution as appropriate.
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence in this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing
determination will be based upon the entire scope of the defendant’s criminal conduct, the
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

7. Given the defendant’s agreement to plead guilty, the United States will not oppose a
two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the
Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the defendant
is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,
at or before the time of sentencing, the Court to decrease the offense level by one additional level
pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant’s offense(s), including violations of conditions of release or the commission of any
additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant
not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

Guidelines.
8. The defendant agrees to pay the special assessment in this case prior to sentencing.

9. Financial Obligations: The defendant agrees to pay all fines and restitution imposed
by the Court to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. If the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation Office will have the
authority to establish payment schedules to ensure payment of the fine and/or restitution. The
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by
the Court by set-off of federal payments, execution on non-exempt property, and any other means
the United States deems appropriate. The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s counsel.
In order to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which
the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. In furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) If so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,

and truthful.
b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) If so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s Office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant.

10. The defendant acknowledges that the principal benefits to the United States of a plea
agreement include the conservation of limited government resources and bringing a certain end to
the case. Accordingly, in consideration of the concessions made by the United States in this
agreement and as a further demonstration of the defendant’s acceptance of responsibility for the
offense committed, the defendant voluntarily, knowingly, and intentionally agrees to the following:

a) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,

5 U.S.C. Section 552a.

11. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. If the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement. If the defendant
violates the terms of this plea agreement in any way (including but not limited to failing to enter
guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

court order or any local, state or federal law pending the resolution of this case), then the United
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States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. In addition, the United States may prosecute the defendant for
any and all federal crimes that the defendant committed related to this case, including any charges
that were dismissed and any other charges which the United States agreed not to pursue. The
defendant expressly waives any statute of limitations defense and any constitutional or speedy trial
or double jeopardy defense to such a prosecution. The defendant also understands that a violation of
this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

12. The United States will file a supplement in this case, as required in every case by the
Local Rules of the United States District Court for the Eastern District of Tennessee, even though
there may or may not be any additional terms. If additional terms are included in the supplement,
they are hereby fully incorporated herein.

13. This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant’s guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between the
defendant and the United States. The parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other

promises, representations, and statements whether made before, contemporaneous with, or after this
agreement, are null and void.

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Date

By:

By:

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